






Opinion issued August 26, 2008










In The

Court of Appeals

For The

First District of Texas






NO. 01-06-00099-CV






DOMINIC MENDOZA D/B/A ACROPOLIS CONSTRUCTION COMPANY,
Appellant


V.


ELECTA CAROL TAYLOR, Appellee






On Appeal from the 190th District Court

Harris County, Texas

Trial Court Cause No. 2004-12591






MEMORANDUM OPINION	Appellant Dominic Mendoza d/b/a Acropolis Construction Company has failed
to timely file a brief.  See Tex. R. App. P. 38.8(a) (failure of appellant to file brief). 
After being notified that this appeal was subject to dismissal, appellant did not
adequately respond.  See Tex. R. App. P. 42.3(b) (allowing involuntary dismissal of
case).

	The appeal is dismissed for want of prosecution for failure to timely file a brief. 
All pending motions are denied.

PER CURIAM

Panel consists of Chief Justice Radack and Justices Taft and Keyes.


